Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 1 of 18 PAGEID #: 337




                          IN THE COURT OF COMMON PLEAS
                              BELMONT COUNTY, OHIO


ROBERT E. MURRAY,
An Individual,
47626 Meadowview Drive
St. Clairsville, OH 43950; and

MURRAY ENERGY CORPORATION,
An Ohio Corporation,
46226 National Road
St. Clairsville, OH 43950

       Plaintiffs

  v.

PUBLIC CITIZEN, INC.,
A District of Columbia corporation,                   CASE NO. 14 CV 235
c/o agent Joan B. Claybrook
1600 20th Street NW
Washington, DC 20009;                                 Judge Frank A. Fregiato

PUBLIC CITIZEN FOUNDATION, INC.,
A District of Columbia corporation,                   FIRST AMENDED
c/o agent Joan B. Claybrook                           CO~PLAINT
1600 20th Street NW
Washington, DC 20009;                                 JURY DEMAND
                                                      ENDORSED HEREIN
KEYMARKET OF OHIO, LLC,
An Ohio limited liability company,
c/o agent CT Corporation System
1300 E 9th St.
Cleveland, OH 44114

JERRY L. HANNAHS,
An individual,
General Manager, WBGI 100.5 FM and WUKL 105.5 FM
237 Fort Clarke Drive
Benwood, WV 26031;
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 2 of 18 PAGEID #: 338




CAPSTAR TX LLC,
A Texas limited liability company,
c/o agent Corporation Service Company
701 Brazos Street, Suite 1050
Austin, TX 7870 1;

CHUCK POET,
An individual,
VP/Market Manager, WWVA 1170 AM and WOVK 98.7 FM
4354 School House Rd
Little Hocking, OH 45742;

JIM ELLIOTT,
An individual,
Program Director, WWV A 1170 AM and WOVK 98.7 FM
1015 Main Street
Wheeling, WV 26003;

CBS RADIO EAST, INC.,
A Delaware corporation,
c/o agent Corporation Service Company
2711 Centerville Road, Suite 400
Wilmington, DE 19808;

MICHAEL J. YOUNG,
An individual,
Senior Vice President and Pittsburgh Market Manager,
KDKA 1020AM
404 Avonlea Court
Gibsonia, PA 15044;

MICHAEL SPACCIAPOLLI,
An individual,
Director of Sales, KDKA 1020 AM
103 Maplewood Drive
Wexford, PA 15090; and

JOHN DOES 1-10;

      Defendants




                                             2
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 3 of 18 PAGEID #: 339




        Plaintiffs Robert E. Murray and Murray Energy Corporation (together, "Plaintiffs") state

and allege as follows:

                                      NATURE OF THE CASE

        1.      This is an action for defamation, false light invasion of privacy, and deceptive and

unfair trade practices under Ohio law against Defendants Public Citizen, Inc., Public Citizen

Foundation, Inc., Keymarket of Ohio, LLC, Capstar TX LLC, CBS Radio East, Inc., and their

agents (collectively, "Defendants") that is based on multiple false and defamatory statements

made in radio ads launched on July 28, 2014, heard on radio stations by a wide audience. The

false and defamatory statements described below, made by Defendants without any legal

privilege, and with knowledge or reckless disregard of their falsity and deceptive character, have

disparaged and severely harmed the reputation and business of Plaintiffs, caused great mental

anguish and emotional distress for Plaintiff Robert E. Murray and his family members, and have

cast Plaintiffs in a false light before the public.

                                               PARTIES

        Plaintiffs

        2.      Plaintiff Robert E. Murray ("Murray") is a resident of 47626 Meadowview Drive,

St. Clairsville, Belmont County, Ohio 43950, and is the President, Chief Executive Officer, and

Chairman of Murray Energy Corporation.

        3.      Plaintiff Murray Energy Corporation ("Murray Energy") is a corporation

incorporated under the laws of the State of Ohio, with its principal office located at 46226

National Road, St. Clairsville, Belmont County, Ohio 43950.



                                                      3
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 4 of 18 PAGEID #: 340




         Defendants

         4.    Defendant Public Citizen, Inc. is a corporation incorporated under the laws of the

District of Columbia, with its principal office located at 1600 20th Street NW, Washington, DC

20009. On information and belief, Public Citizen, Inc. is a non-profit consumer rights advocacy

group based in Washington, D.C., with a branch in Austin, Texas.

         5.    Defendant Public Citizen Foundation, Inc. is a corporation incorporated under the

laws of the District of Columbia, with its principal office located at 1600 20th Street NW,

Washington, DC 20009. On information and belief, Public Citizen Foundation, Inc. is a non-

profit consumer rights advocacy group based in Washington, D.C., with a branch in Austin,

Texas.

         6.    Defendant Keymarket of Ohio, LLC is an Ohio limited liability company, with its

principal office located at 56325 High Ridge Rd., Bellaire, Belmont County, Ohio 43906, that is

involved in approving advertisements for WBGI-FM, a radio station located near Bellaire, Ohio,

transmitting on a frequency of 100.5 MHz. WBGI-FM transmits radio programs and

advertisements in Belmont County, Ohio.

         7.    Defendant Keymarket of Ohio, LLC also approves advertisements for

WUKL-FM, a radio station located near Bellaire, Ohio, transmitting on a frequency of

105.5 MHz. WUKL-FM transmits radio programs and advertisements in Belmont County, Ohio.

         8.    Defendant Jerry Hannahs is an individual residing at 237 Fort Clarke Drive,

Benwood, Marshall County, West Virginia 26031. On information and belief, Jerry Hannahs is

General Manager ofWBGI 100.5 FM and WUKL 105.5 FM.



                                                4
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 5 of 18 PAGEID #: 341




       9.      Defendant Capstar TX LLC is a Texas limited liability company, with its

principal office located at 2625 S. Memorial Dr., Suite A, Tulsa, Oklahoma 74129, that is

involved in approving advertisements for WOVK-FM, a radio station located near Wheeling,

WV, transmitting on a frequency of98.7 MHz. WOVK-FM transmits radio programs and

advertisements in Belmont County, Ohio.

       10.     Defendant Capstar TX LLC also approves advertisements for WWV A-AM, a

radio station located near St. Clairsville, Ohio, transmitting on a frequency of 1170 kHz.

WWV A-AM transmits radio programs and advertisements in Belmont County, Ohio.

       11.     Defendant Chuck Poet is an individual residing at 4354 School House Rd., Little

Hocking, Washington County, Ohio 45742. On information and belief, Chuck Poet is

VP/MarketManagerofWWVA 1170 AM and WOVK 98.7 FM.

       12.     Defendant Jim Elliott is an individual residing West Virginia and employed at

1015 Main Street, Wheeling, West Virginia 26003. On information and belief, Jim Elliott is

Program Director ofWWV A 1170 AM and WOVK 98.7 FM.

       13.     Defendant CBS Radio East, Inc. is a Delaware corporation, with its principal

office located at 1800 K Street NW, Suite 920, Washington, DC 20006, that is involved in

approving advertisements for KDKA-AM, a radio station located at 651 Holiday Drive, Foster

Plaza 5, Pittsburgh, PA 15220, transmitting on a frequency of 1020kHz. KDKA-AM transmits

radio programs and advertisements in Belmont County, Ohio.

       14.     Defendant Michael J. Young is an individual residing at 404 Avonlea Court,

Gibsonia, Allegheny County, Pennsylvania 15044. On information and belief, Michael Young

is Senior Vice President and Pittsburgh Market Manager of KDKA 1020 AM.

                                                 5
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 6 of 18 PAGEID #: 342




        15.     Defendant Michael Spacciapoli is an individual residing at 103 Maplewood

Drive, Wexford, Allegheny County, Pennsylvania 15090. On information and belief, Michael

Spacciapoli is Director of Sales at KDKA 1020 AM.

        16.     Defendants John Doe are individuals, partnerships, limited liability companies,

and corporations whose identities are unknown to Plaintiffs at this time, who caused the

Defamatory Statements to be published with knowledge of the falsity of the statements contained

therein or with reckless or negligent disregard as to the truth or falsity of said statements.

                                               VENUE

        17.     Venue lies in the Court of Common Pleas, Belmont County, Ohio, pursuant to

Civ. R. 3(B)(3), (6), (12), and 3(E) because the Defendants conducted activity in Belmont

County giving rise to the claim for relief; because all or part of the claim for relief arose in

Belmont County; because Murray and Murray Energy reside in Belmont County; and because

Belmont County is the proper venue as to any one party other than a nominal party, or as to any

one claim for relief.

                 GENERAL ALLEGATIONS COMMON TO ALL COUNTS

        18.     On July 28, 2014, Defendants Public Citizen, Inc. and Public Citizen Foundation,

Inc. (collectively "Public Citizen Defendants") announced they would publish what they

described as a "hard-hitting radio ad" about Plaintiffs. ("Public Citizen Launches Radio Ad

Criticizing Murray Energy Lawsuit Against Clean Air Safeguards" (available at

http://www.citizen.org/pressroom/pressroomredirect.cfm?ID=4253 ). A copy of the

announcement of the radio ad is attached hereto as Exhibit A.)



                                                  6
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 7 of 18 PAGEID #: 343




        19.    According to Public Citizen Defendants' announcement, "[t]he ad will run July

28 through August 1 on two top country stations and the top classic hits and talk stations that

reach [Murray Energy's] headquarters in St. Clairsville, Ohio. The ad also will run on

KDKA-AM, the No. 1 rated station in Pittsburgh, Pa." (See Exhibit A.)

       20.     Beginning on July 28, 2014, the ad was played numerous times over the airways

and heard by many individuals in Belmont County, Ohio and other locations.

       21.     As part of that announcement, a transcript of Public Citizen Defendants' radio ad

was published. (See Exhibit A.) In addition, the announcement included a link to the radio ad

(https://www.youtube.com/watch?v=YdfH-U5SA2s). (See Exhibit A.)

       22.     The radio ad, announcement, and transcript contain multiple false, disparaging,

and defamatory statements regarding Plaintiffs, including, but not limited to:

               (i)     "[Murray Energy] is working against the interests of mine workers and the

       public;"

               (ii)    "Murray Energy sued to stop these protections against dangerous coal dust

       from going into effect" and thereby increase the incidence of pneumoconiosis;

               (iii)   "Murray Energy is also suing to block new clean air standards that would

       protect everyone from air pollution ... including children and seniors with asthma;"

               (iv)    "Murray is using scare tactics;" and

               (v)     "Murray is ... ignoring the science."

These false, disparaging, and defamatory statements hereinafter are referred to collectively as the

"Defamatory Statements" or "False Statements."



                                                 7
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 8 of 18 PAGEID #: 344




        23.    Before July 28, 2014, Defendant Jerry Hannahs reviewed Public Citizen

Defendants' proposed radio ad and, even though he knew that it contained multiple false,

disparaging, deceptive, and defamatory statements regarding Plaintiffs, approved Public Citizen

Defendants' radio ad to be broadcast from WBGI-FM's and WUKL-FM's transmission facilities

located near Bellaire, Ohio, throughout portions of Belmont County, Ohio, and beyond.

       24.     Beginning on July 28, 2014, Defendant Keymarket of Ohio, LLC broadcast the

Defamatory Statements regarding Plaintiffs from WBGI-FM's and WUKL-FM's transmission

facilities located near Bellaire, Ohio, throughout portions of Belmont County, Ohio, and beyond.

Keymarket of Ohio knew that the radio ad contained multiple false, disparaging, deceptive, and

defamatory statements regarding Plaintiffs.

       25.     Before July 28, 2014, Defendants Chuck Poet and Jim Elliott reviewed Public

Citizen Defendants' proposed radio ad and, even though they each knew that it contained

multiple false, disparaging, deceptive, and defamatory statements regarding Plaintiffs, approved

Public Citizen Defendants' radio ad to be broadcast from WWVA-AM's and WOVK-FM's

transmission facilities located near Wheeling, WV, throughout portions of Belmont County,

Ohio, and beyond.

       26.     Beginning on July 28, 2014, Defendant Capstar TX LLC broadcast the

Defamatory Statements regarding Plaintiffs from WWV A-AM's and WOVK-FM's transmission

facilities located near Wheeling, WV, throughout portions of Belmont County, Ohio, and

beyond. Capstar TX LLC knew that the radio ad contained multiple false, disparaging,

deceptive, and defamatory statements regarding Plaintiffs.



                                                8
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 9 of 18 PAGEID #: 345




          27.   Before July 28,2014, Defendants Michael Young and Michael Spacciapoli

reviewed Public Citizen' Defendants' proposed radio ad and, even though they each knew that it

contained multiple false, disparaging, and defamatory statements regarding Plaintiffs, approved

Public Citizen Defendants' radio ad to be broadcast from KDKA-AM's transmission facility

located near Pittsburgh, PA, throughout portions of Belmont County, Ohio, and beyond.

          28.   Beginning on July 28, 2014, Defendant CBS Radio East, Inc. broadcast the

Defamatory Statements regarding Plaintiffs from KDKA-AM's transmission facility located near

Pittsburgh, PA, throughout portions of Belmont County, Ohio, and beyond. CBS Radio East,

Inc. knew that the radio ad contained multiple false, disparaging, deceptive, and defamatory

statements regarding Plaintiffs.

                                            COUNT I
                                          DEFAMATION

          29.   Plaintiffs restate and reallege all other paragraphs of this Complaint as if fully set

forth herein.

          30.   Upon information and belief, Defendants caused the Defamatory Statements to be

published with knowledge of the falsity of the statements contained therein or with reckless or

negligent disregard as to the truth or falsity of said statements.

          31.   Upon information and belief, Defendants, acting on their own or through their

agents,     continue to broadcast or publish the Defamatory Statements and have made the

Defamatory Statements available to additional readers throughout the world, including residents

of Belmont County and beyond, on Internet websites.




                                                  9
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 10 of 18 PAGEID #: 346




        32.    The Defamatory Statements are defamatory per se in that, on their face, they

reflect upon Plaintiffs'   reputation and character in a manner that:      (1) injured Plaintiffs'

reputation and subjects Plaintiffs'      to public hatred, ridicule, shame, or disgrace; and

(2) adversely affected Plaintiffs' trades or businesses.      In the alternative, the Defamatory

Statements are defamatory per quod in that they are capable of being interpreted as reflecting

upon Plaintiffs' reputation or character in a manner that: (1) injured Plaintiffs' reputation or

exposes them to public hatred, ridicule, shame, or disgrace; and (2) adversely affected Plaintiffs'

trades or businesses.

        33.    The Defamatory Statements were published and continue to be published with

malice and without any lawful privilege or basis.

        34.    Publication of the Defamatory Statements has caused and will continue to cause

Plaintiffs and members of Murray's family to suffer great mental anguish and emotional distress.

       35.     Publication of the Defamatory Statements will cause Plaintiffs to encounter more

difficulty in securing performance surety bonds from lenders to support their businesses and

Plaintiffs may have to collateralize them at higher levels.

       36.     Publication of the Defamatory Statements will cause lenders to be less willing to

engage in financing transactions with Plaintiffs, thereby preventing them from gaining access to

capital needed to operate their businesses or making it more difficult and expensive for them to

obtain such capital.

       37.     Publicati<;>n of the Defamatory Statements will cause Plaintiffs to encounter

difficulty in participating in discussions with public officials, including regulatory agencies,

regarding matters of concern to Plaintiffs' businesses.
                                                 10
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 11 of 18 PAGEID #: 347




        38.     Publication of the Defamatory Statements will cause Plaintiffs to suffer a loss of

business opportunities and loss of potential or existing customers for their businesses.

        39.     Publication of the Defamatory Statements has caused and will continue to cause

damage to Plaintiffs' reputation and good standing in their community and industry.

                                       COUNT II
                           FALSE LIGHT INVASION OF PRIVACY

        40.     Plaintiffs restate and reallege all other paragraphs ofthis Complaint as if fully set

forth herein.

        41.     The Defamatory Statements constitute false light invasion of privacy in that the

Defamatory Statements have subjected Plaintiffs to unreasonable and highly objectionable

publicity by attributing to them characteristics, conduct or beliefs that are false, thereby placing

them in a false light before the public.

       42.      The false light in which Plaintiffs have been placed due to publication of the

Defamatory Statements would be highly offensive to a reasonable person.

       43.      Defendants had knowledge of the falsity ofthe Defamatory Statements or acted in

reckless disregard as to the falsity of the Defamatory Statements and the false light in which

Plaintiffs would be placed.

       44.      Publication of the Defamatory Statements has caused and will continue to cause

Plaintiffs and members of Murray's family to suffer great mental anguish and emotional distress.

       45.      Publication of the Defamatory Statements will cause Plaintiffs to encounter more

difficulty in securing performance surety bonds from lenders to support their businesses and

Plaintiffs may have to collateralize them at higher levels.


                                                 11
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 12 of 18 PAGEID #: 348




        46.     Publication of the Defamatory Statements will cause lenders to be less willing to

engage in financing transactions with Plaintiffs, thereby preventing them from gaining access to

capital needed to operate his businesses or making it more difficult and expensive for him to

obtain such capital.

        47.     Publication of the Defamatory Statements will cause Plaintiffs to encounter

difficulty in participating in discussions with public officials, including regulatory agencies,

regarding matters of concern to Plaintiffs' businesses.

        48.     Publication of the Defamatory Statements will cause Plaintiffs to suffer a loss of

business opportunities and loss of potential or existing customers for their businesses.

        49.     Publication of the Defamatory Statements has caused and will continue to cause

damage to Plaintiffs' reputation and good standing in their community and industry.

                                  COUNT III
                 DECEPTIVE AND UNFAIR TRADE PRACTICES UNDER
                            OHIO REV. CODE, § 4165.02

        50.     Plaintiffs restate and reallege all other paragraphs of this Complaint as if fully set

forth herein.

        51.     Defendants have engaged in deceptive trade practices in violation of Ohio

Revised Code § 4165.02 by, in the course of Defendants' business, vocation, or occupation,

publishing statements disparaging the goods, services, or business of Plaintiffs by false

representations of fact.

       52.      Defendants knew of the deceptive character of the False Statements when such

statements were made publicly.

       53.      Defendants' conduct has caused injury to Plaintiffs' business and reputation.
                                                  12
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 13 of 18 PAGEID #: 349




        54.     The conduct of Defendants has been knowing, deliberate and willful and was

committed with the intent to deceive the public and disparage and harm Plaintiffs' business.

Defendants' campaign to disparage Plaintiffs' reputation in the community at large is also

evidenced by the mass publication of the false statements.

        55.     As a direct and proximate result of Defendants' wrongful activities, Plaintiffs

have and continue to suffer damages in an amount to be determined at trial, but in excess of

$25,000.00.

                                  COUNT IV
                 DECEPTIVE AND UNFAIR TRADE PRACTICES UNDER
                             OHIO COMMON LAW

        56.     Plaintiffs restate and .reallege all other paragraphs of this Complaint as if fully set

forth herein.

        57.     The wrongful conduct of Defendants, as alleged herein, constitutes deceptive

trade practices under the common law of Ohio.

        58.     The False Statements about Plaintiffs were made to influence the public to shun

Plaintiffs and their business.

       59.      Defendants' False Statements were made to cast doubt on the quality of Plaintiffs'

reputation, goods, and services.

       60.      Defendants acted with actual malice through the publication of the False

Statements with intent to harm the business and personal interests of Plaintiffs.

       61.      It was reasonably foreseeable to Defendants that publication of the False

Statements would harm the business and personal interests of Plaintiffs.

       62.      Defendants knew that the False Statements were just that- false.
                                                  13
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 14 of 18 PAGEID #: 350




         63.     Defendants acted in reckless disregard of the False Statements' truth or falsity.

         64.     As a direct and proximate result of the publication of the False Statements and

 Defendants' wrongful conduct as herein alleged, Plaintiffs have sustained special damages from

 the actual loss of sales of coal, loss of business opportunities in procuring sales, and loss of

 goodwill in the coal and electricity generation industry, and in Robert Murray's personal life, as

 will be proven at trial.

         WHEREFORE, Plaintiffs respectfully request, as to Counts I, II, III, and IV:

                 1.         Judgment for general damages in favor of Plaintiffs and against the

                            Defendants in an amount to be determined at trial, but in excess of

                            $25,000.00.

                 2.         Judgment for special damages in favor of Plaintiffs and against the

                            Defendants in an amount to be determined at trial, but in excess of

                            $25,000.00.

                 3.         Judgment for punitive damages in favor of Plaintiffs and against the

                            Defendants in an arriount to be determined at trial, but in excess of

                            $25,000.00;

                 4.         An award to Plaintiffs of attorneys' fees and costs of suit; and

                 5.         Such other and further relief as the Court deems just and proper.




                                                      14
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 15 of 18 PAGEID #: 351




       PLAINTIFFS DEMAND A TRIAL BY JURY IN THIS ACTION.



                                         Respectfully submitted,




                                             Dany      vetanovi
                                             Trittf Attorney
                                             Sabrina Haurin        (0079321)
                                             Bailey Cavalieri LLC
                                             One Columbus
                                             10 West Broad Street, Suite 2100
                                             Columbus, Ohio 43215-3422
                                             Telephone: (614) 221-3155
                                             Telefax:      (614) 221-0479
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                                             Counsel for Plaintiffs


Of counsel:

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                                        15
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 16 of 18 PAGEID #: 352




                                  CERTIFICATE OF SERVICE

             I hereby certify that I served the foregoing First Amended Complaint was served upon

 Defendants via first-class United States mail, postage prepaid, this 2nd day of September 2014 as

 follows.

 Frederick M. Gittes, Esq.                              Timothy F. Cogan, Esq.
 Jeffrey P. Vardaro, Esq.                               Patrick S. Cassidy, Esq.
 The Gittes Law Group                                   Cassidy Cogan Shapell & Voegelin, L.C.
 723 Oak Street                                         The First State Capitol
 Columbus, Ohio 43205                                   1413 Eoff Street
 Counsel for Defendants Public Citizen, Inc.            Wheeling, West Virginia 26003
 and Public Citizen Foundation, Inc.                    Counsel for Defendants CBS Radio East, Inc.,
                                                        Michael J. Young, and Michael Spacciapolli

 Donna Schneider, Esq.                                  Jerry L. Hannahs,
 Associate General Counsel                              An individual,
 Clear Channel                                          General Manager, WBGI 100.5 FM and
 200 East Basse Road                                    WUKL 105.5 FM
 San Antonio, Texas 78209                               237 Fort Clarke Drive
 Counsel for Defendants Capstar TX LLC,                 Benwood, West Virginia 26031
 Chuck Poet, and Jim Elliot

Holly S. Planinsic, Esq.
Herndon, Morton, Herndon & Yaeger
83 Edgington Lane
Wheeling, West Virginia 26003
Counsel for Defendant Keymarket of Ohio,
LLC




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                                                   16
Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 17 of 18 PAGEID #: 353




                           EXHIBIT A
                Case: 2:14-cv-02561-EAS-TPK Doc #: 3 Filed: 12/12/14 Page: 18 of 18 PAGEID #: 354
Public Citizen Press Room




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           July 28, 2014


           Public Citizen Launches Radio Ad Criticizing Murray Energy Lawsuit
           Against Clean Air Safeguards                                                                                                     Media Contacts
                                                                                                                                            Angela Bradbery, Director of
           Radio Ad Will Run in Pittsburgh Area and Belmont, Ohio, Market, Home to Murray Energy                                            Communications
                                                                                                                                            w.   (202) 588-7741
          WASHINGTON , D.C. - A            llfll d      ·i'l il·Pr; , 'lrlio ad launches today criticizing Murray Energy                    c. (202) 503-6768
           Corporation's legal challenges to proposed federal clean air standards and protections for mine                                  iib rad be ry@crtrzen org , 1\'lrlter
          workers from coal dust. The ad will run July 28 through August 1 on two top country stations and
          the top classic hits and talk stations that reach the company's headquarters in St. Clairsville, Ohio.                            Barbara Holzer, Broadcast Manager
           The ad also will run on KDKA-AM, the No. 1 rated station in Pittsburgh, Pa.                                                      w. (202)  588-7716
                                                                                                                                            bho lze r@citrzcn org
           Murray Energy is a privately owned coal mining company with 3,000 employees and eight
           underground and surface coal mines in the U.S. It operates in Ohio, Pennsylvania, Kentucky,                                      Karilyn Gower, Press Officer
           Illinois, West Virginia and Utah.                                                                                                w. (202)588-7779
                                                                                                                                            kgowe r@ciliLen org
           In May, Murray Energy sued the U.S. Department of Labor to block new rules designed to protect
          coal miners from coal dust, which can cause black lung disease. In June, Murray Energy sued to
                                                                                                                                            Other Important Links
          block a proposal by the U.S. Environmental Protection Agency (EPA) to cut carbon pollution from
                                                                                                                                            Press Release Database
          existing power plants.
                                                                                                                                            Citizen Vox blog
                                                                                                                                            TCXl'IS Vox blog
           "It is unconscionable that Murray Energy is trying to block important health and safety protections
                                                                                                                                            Cor lsumer Law <Jrld Policy blog
          for workers and the public, • said Tyson Slocum, director of Public Citizen's Energy Program. "The
                                                                                                                                            Energy Vox blog
          EPA's proposal will cut carbon pollution from power plants and clean up our air. We are running this
                                                                                                                                            Eyes on Trade blo9
          radio ad because we want people to know that this company is working against the interests of
                                                                                                                                            F ~cebooklpublrcci ti Len
          mine workers and the public."


          On Thursday and Friday (July 31 and August 1), the EPA will hold a public hearing in Pittsburgh,                                  Follow us on Twitter
          among other cities, on the proposed carbon pollution rules.
                                                                                                                                              Tweets                                  ~   Fottow

          The following is a transcript of Public Citizen's rarlro atwertrserr•ent.


          Announcer: Imagine you're a coal miner, waiting in your doctor's office. Your doctor comes in and
                                                                                                                                             II      DemocracylsForPeople
                                                                                                                                                     ~tl   HulellylJs
                                                                                                                                                                                             3h


          shows you a scan of your lung. You have Pneumoconiosis ... Black Lung Disease. Black Lung
          can harden your lungs ... shorten your breath . .. it can even cause cancer and death. And there's
                                                                                                                                              RT ,;ueveryvoice: Could balance of the Senate
          no cure. Safety standards can reduce the dangerous coal dust that causes Black Lung. But
                                                                                                                                              b decided by issues of money in politics? New
          recently, a coal company called Murray Energy sued to stop these protections against dangerous                                      poll with ,;ilDemCorps: tJ<t :y/ls7t-1Uu
          coal dust from going into effect. Now Murray Energy is also suing to block new clean air standards                                  t'l. Ret.weeted by P11blic Citi;-en
          that would protect everyone from air pollution .. . including children and seniors with asthma. Murray
                                                                                                                                              Exp<m d
          is using scare tactics and ignoring the science. And that's just wrong. No one wants to worry about
          the air they breathe. Please visit w•.'m Ciiozer' orq, sign the petition and speak out now to protect our
          families' health and our kids' future. Second Announcer: Message brought to you by Public Citizen.                                  B      Christine Hines
                                                                                                                                                     cgJch1 hines
                                                                                                                                                                                           20h




          ###
                                                                                                                                              Exec. Order is confirmation by POTUS that
                                                                                                                                              access to justice should not be discarded in the

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